753 F.2d 1055
    55 A.F.T.R.2d 85-1572, 85-2 USTC  P 13,625
    WILMINGTON TRUST COMPANY, Grace Vale Asche, Vale AscheAckerman, et al., Appellees,v.UNITED STATES, Appellant.
    Appeal No. 84-1440.
    United States Court of Appeals,Federal Circuit.
    Jan. 30, 1985.
    
      Lisa Prager, Dept. of Justice, Washington, D.C., for appellant.  With him on brief were Glenn L. Archer, Jr., Asst. Atty. Gen., Michael L. Paup and David English Carmack, Washington, D.C.
      Charles A. Crocker, Baker &amp; Botts, Houston, Tex., for appellee.
      Before MARKEY, Chief Judge, NICHOLS, Senior Circuit Judge, and BISSELL, Circuit Judge.
      BISSELL, Circuit Judge:
    
    
      1
      This is an appeal from a judgment of the United States Claims Court.  We agree with the Claims Court decision that, under the law of Texas, income derived during marriage from certain trusts, the corpus of which the income beneficiary had no right to nor control over, constituted the separate property of the income beneficiary and no part thereof was includible in the estate of the decedent spouse of the income beneficiary.  Accordingly, the judgment appealed from is affirmed on the basis of the opinion filed by the United States Claims Court.   Wilmington Trust Co. v. United States, 4 Cl.Ct. 6 (1983).
    
    
      2
      AFFIRMED.
    
    